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                           IN THE UNITED STATES DISTRICT COURT                           4/22/2019
                          FOR THE WESTERN DISTRICT OF VIRGINIA
                                   LYNCHBURG DIVISION


  WILLIAM LEE GRANT II,
                 Plaintiff,                         6:19-CV-00013

                          v.

  GREGORY K. HARRIS, ET AL.,                        JUDGE NORMAN K. MOON
               Defendants.                          SENIOR UNITED STATES DISTRICT JUDGE



  WILLIAM LEE GRANT II,
                 Plaintiff,                         6:19-CV-00016

                          v.

  GREGORY K. HARRIS, ET AL.,                        JUDGE NORMAN K. MOON
               Defendants.                          SENIOR UNITED STATES DISTRICT JUDGE



  WILLIAM LEE GRANT II,
                Petitioner,                         6:19-CV-00017

                          v.
                                                    JUDGE NORMAN K. MOON
  GREGORY K. HARRIS, ET AL.,                        SENIOR UNITED STATES DISTRICT JUDGE
                Respondents.


                                   OPINION AND ORDER

       The Plaintiff, proceeding pro se, filed complaints in each case against Assistant United

States Attorney Gregory K. Harris and the Joint Chiefs of Staff. In each case, Plaintiff has

submitted an application to proceed in forma pauperis. The Court will grant the applications to

proceed in forma pauperis but will dismiss the complaint in each case as frivolous pursuant to 28

U.S.C. § 1915(e)(2)(B).
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        Each complaint alleges that the Joint Chiefs of Staff “created Mr. Grant in the basement of

the Pentagon in 1990 to be ‘the Judge’ as to whether the Vietnam War constituted war crimes.”

He continues with dozens of disjointed and fantastic allegations, many of which overlap from

complaint to complaint, and seeks compensatory damages of $99 trillion in each case.

        Under 28 U.S.C. § 1915(e)(2)(B), a district court has a duty to screen initial filings and

dismiss a complaint filed in forma pauperis if the court determines that the action “(i) is frivolous

or malicious; (ii) fails to state a claim on which relief may be granted; or (iii) seeks monetary relief

against a defendant who is immune from such relief.” The Court is mindful of its obligation to

liberally construe self-represented pleadings. Erickson v. Pardus, 551 U.S. 89, 90-95 (2007). The

complaints, however, state no recognizable causes of action but rather “describe[e] fantastic or

delusional scenarios, claims with which federal district judges are all too familiar.” Neitzke v.

Williams, 490 U.S. 319, 328 (1989). As one court recently noted, quoting an opinion from the

Eastern District of Virginia with respect to this same Plaintiff: “Plaintiff is a serial filer of frivolous

litigation in various federal courts across the country, . . . [and] the vast majority of [P]laintiff’s

cases have been dismissed as frivolous under 28 U.S.C. § 1915(e).” Grant v. U.S. Dept. of Defense,

No. 4:18-CV-00443-ALM-CAN, 2019 WL 1009405, at *1 (E.D. Tex. Jan. 25, 2019) (Nowak,

M.J.) (quoting Grant v. United States Dept. of Treasury, Case No. 1:18-cv-457 (E.D. Va. May 1,

2018), appeal dismissed as frivolous, 740 F. App’x 333 (4th Cir. 2018) (unpublished per curiam)),

report and recommendation adopted, 2019 WL 1003642 (E.D. Tex. Mar. 1, 2019).

        The Court notes that Plaintiff also filed complaints in at least four similar, additional

actions in the Western District of Virginia, all of which have been dismissed as frivolous pursuant

to 28 U.S.C. § 1915(e)(2)(B). See Grant v. Joint Chiefs of Staff, No. 1:19-cv-00013 (W.D. Va.;

dkt. 3); Grant v. Harris, et al., 1:19-cv-00014 (W.D. Va.; dkt. 3); Grant v. Harris, et al., 1:19-



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cv-00015 (W.D. Va.; dkt. 3); Grant v. Harris, No. 5:19-CV-24 (W.D. Va.; dkt. 3, 4)). This Court

will dismiss the complaint in each case before this Court as frivolous.

       Accordingly, it is hereby ORDERED that Plaintiff’s motion to proceed in forma pauperis

in each case is GRANTED; Plaintiff’s pro se complaint in each case is DISMISSED pursuant to

28 U.S.C. § 1915(e)(2)(B); and each case is STRICKEN from the active docket of the Court.

       The Clerk of Court is directed to file this Opinion and Order in each captioned case, send

a copy of the Order to the pro se Plaintiff, and close the cases.

       Entered this _____
                    22nd day of April, 2019.




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